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8
                              UNITED STATES DISTRICT COURT
9
                                 FOR THE DISTRICT OF IDAHO
10

11
     KELLI ROWLETTE, an individual,
12   SALLY ASHBY, an individual, and
13
     HOWARD FOWLER, an individual,                   Cause No. 4:18-cv-00143-DCN

14                              Plaintiffs,
     v.                                              PLAINTIFFS’ RESPONSIVE
15                                                   MEMORANDUM IN OPPOSITION TO
     GERALD E. MORTIMER, M.D., LINDA                 GERALD E. MORTIMER, M.D.’S
16
     G. McKINNON MORTIMER, and the                   MOTION TO RECONSIDER [Dkt. 45]
17   marital community comprised thereof, and
     OBSTETRICS AND GYNECOLOGY
18   ASSOCIATES OF IDAHO FALLS, P.A, an
     Idaho professional corporation,
19

20                                Defendants.

21
             COMES NOW, the Plaintiffs, by and through their counsel of record, and submit this
22
     response memorandum in opposition to Defendant Gerald E. Mortimer, M.D.’s Motion to
23
     Reconsider the Court’s order requiring Gerald Mortimer, M.D. to submit to a buccal swab
24

25   paternity test.


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1                                 I.     SUMMARY OF ARGUMENT
2           Gerald E. Mortimer, M.D. (Mortimer) seeks reconsideration of the Court’s order
3
     requiring him to submit to a paternity test due to “newly discovered evidence.” The evidence
4
     Mortimer characterizes as “newly discovered” is his December 11, 2018 deposition testimony
5
     wherein he admits that he thinks he is Kelli Rowlette’s (Rowlette) biological father. Mortimer
6
     alleges that the biological relation between he and Rowlette was not available to him while the
7
     motion to compel was pending. Mortimer’s problematic admission should not prevent the
8
     Plaintiffs from obtaining evidence necessary to prove paternity with scientific certainty.
9
            Mortimer’s admission that he is likely Rowlette’s biological father should be considered
10

11   with caution by this Court because Mortimer has left himself room to backpedal from this

12   admission. Mortimer has not amended his Answer to admit paternity, nor has he amended his

13   answers to requests for admission on the issue to clearly take the question out of controversy.

14   Likely, this is because Mortimer’s admission comes with many caveats that he would like to take
15
     advantage of at trial, particularly that he doesn’t recognize Sally Ashby (Ashby) or Howard
16
     Fowler (Fowler), doesn’t remember them specifically, and has undiagnosed memory problems.
17
     All of these facts allow Mortimer to attempt to escape the full force of his admission at trial, and
18
     claim it was a slip in memory or judgment.
19
            The Court should also deny Mortimer’s request on the basis that Mortimer’s admission
20
     during his deposition does not amount to newly discovered evidence under Rule 60 of the
21
     Federal Rules of Civil Procedure. Mortimer admits that he knew Rowlette was his daughter
22

23
     when she contacted him on Ancestry.com far before the motion to compel was ever filed. Yet, to

24   avail himself of Rule 60, Mortimer claims that he didn’t have access to the fact that he knew he

25   might be Rowlette’s biological father prior to his deposition. Mortimer’s timing and motivation


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1    are suspect. To this point, Mortimer has admitted to lying under oath in his responses to written
2    discovery, including discovery for which he signed a verification under oath on the very same
3
     day as the deposition.      Mortimer’s deposition testimony reveals how truly unreliable his
4
     assertions are, as his position changes rapidly from one moment to the next.
5
            Finally, the Court should deny Mortimer’s motion for reconsideration because Mortimer
6
     admits that submitting to a paternity test is the right thing to do and he desires to settle this
7
     question with scientific certainty once and for all.
8
                                     II.     BACKGROUND FACTS
9
            Mortimer admits that he believed he was Rowlette’s biological father when he received a
10

11   message from her following the DNA match on Ancestry.com prior to the initiation of this

12   lawsuit:

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23
     (Decl. of Harlington, Exhibit A pp. 93-93; Exhibit B). Despite this, in his answer to the
24
     complaint, Mortimer denies having inseminated Ashby with his own semen. (ECF 13, p. 4).
25



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1    Mortimer has not made any attempt to file an amended answer admitting that he impregnated
2    Ashby with his own semen, resulting in Rowlette’s birth.
3
            On September 13, 2018, Plaintiffs filed a motion asking the Court to compel Mortimer to
4
     submit to a paternity test. (ECF 34). During the briefing period, on October 30, 2018 Mortimer
5
     signed a verification under oath for his Responses to Plaintiff’s First Set of Requests for
6
     Admission, wherein he objects to the inference that he inseminated Ashby with his own semen.
7
     (Decl. of Harlington, Exhibit C). Mortimer denies inseminating Ashby with his own semen
8
     again and again in response to 28 separate questions. Id. In these responses, Mortimer also
9
     denies being Rowlette’s biological father, denies suspecting he was her biological father when
10

11   she was born, and denies having any independent recollection of Ashby or Fowler outside of

12   what is contained in the medical records. Id.

13          Days later, on November 2, 2018, Mortimer served his Responses to Plaintiffs’ First Set

14   of Requests for Production and his Answers to Plaintiffs’ First Set of Interrogatories, wherein he
15
     denies inseminating Ashby with his own semen and states he has no independent recollection of
16
     Ashby or Fowler beyond what is contained in the medical records. (Decl. of Harlington, Exhibit
17
     D; Exhibit E). Mortimer’s Sur-Reply memorandum was filed ten days later on November 12,
18
     2018 and fails to include any admission that he inseminated Ashby with his own semen or that
19
     he is the biological father to Rowlette. (ECF 42).
20
            On December 10, 2018, the day before his scheduled deposition, Mortimer served a
21
     supplemental response to requests for production which did not change his original denial that he
22

23
     inseminated Ashby with his own sperm. (Decl. of Harlington, Exhibit F). The day before his

24   deposition, Mortimer also served supplemental answers to interrogatories and amended

25   responses to requests for admission wherein he admits that he “donated sperm” to patients but


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1    continues to deny having any recollection of inseminating Ashby with his own semen. (Decl. of
2    Harlington, Exhibit G; Exhibit H). Mortimer signed the verification pages to these supplemental
3
     answers under oath on the day of his deposition. (Decl. of Harlington, Exhibit I; Exhibit J).
4
            At his deposition on December 11, 2018, Mortimer repeatedly excused himself for
5
     having memory problems, even over simple questions like his children’s’ birthdays:
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18   (Decl. of Harlington, Exhibit A, pp. 10-12).

19          Mortimer’s memory problems did not appear to improve as the deposition continued. By

20   the afternoon, Mortimer had entirely forgotten that he had reviewed supplemental discovery
21   answers and signed verifications under oath earlier that same day:
22

23

24

25



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23   (Decl. of Harlington, Exhibit A, pp. 109-111).

24          It is during this deposition that Mortimer testifies that he thinks he is Rowlette’s

25   biological father:


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     (Decl. of Harlington, Exhibit A, p. 33). This admission comes with the qualification that
4
     Mortimer does not recognize photographs of Sally Ashby or Howard Fowler from the 1980s, and
5
     does not recognize Ashby as a woman he inseminated with his own semen:
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     (Decl. of Harlington, Exhibit A, p. 39-40).

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1            Mortimer impliedly admits that his belief that he might be Rowlette’s biological father is
2    not sufficient proof of the matter, and states he is willing to take a paternity test “to have the truth
3
     come out.” (Decl. of Harlington, Exhibit A, p. 36). Mortimer himself characterizes taking the
4
     paternity test as “the right thing to do”:
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1    (Decl. of Harlington, Exhibit A, p. 35-36). Mortimer also admits that he has lied under oath in
2    answering written discovery:
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15          After ample briefing on the motion to compel, this Court ordered Mortimer to submit to

16   the requested testing noting that the very core of Mortimer’s defense is that he is not Rowlette’s
17   biological father because he did not inseminate Ashby with his own sperm. (ECF 44). Mortimer
18
     now seeks reconsideration of the Court’s order on the basis of “newly discovered evidence.”
19
     (ECF 45). Mortimer bases his motion on his December 11, 2018 deposition testimony wherein
20
     he admits that he thinks he is Rowlette’s biological father, and the assertion that this information
21
     was not available to him at the time the parties briefed their respective opposition and support
22
     memoranda for the motion to compel. (ECF 45-1, pp. 3-5). Mortimer suggests that this
23
     admission is sufficient to take the issue of paternity out of controversy. Id.
24

25



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1                                         III.   ARGUMENT
2           Mortimer asks this Court to reconsider its order requiring him to submit to a buccal swab
3
     paternity test based on the “newly discovered evidence” that Mortimer testified at his deposition
4
     that he thinks he is Ms. Rowlette’s father. In making this request, Mortimer conveniently glosses
5
     over the fact that he does not remember Ashby or Fowler, does not recognize them, and does not
6
     recall inseminating Ashby with his own sperm. Mortimer hopes to avoid the DNA test and
7
     introduce evidence at trial that his deposition testimony is unreliable because of his memory
8
     problems, the fact that he does not recognize Ashby or Fowler, and the fact that he claims he
9
     does not specifically remember inseminating Ashby with his own semen. He may likely argue
10

11   that he was nervous and felt pressured and only said he thought he might be Rowlette’s

12   biological father but made the admission by mistake. This Court should not allow Mortimer to

13   manufacture “newly discovered evidence” and continue his web of deception. Mortimer admits

14   this “newly discovered evidence” was known to him all along.            The Court should deny
15
     Mortimer’s request for reconsideration.
16
            A. Mortimer Has Failed to Meet His Burden for Reconsideration Based on Newly
17             Discovered Evidence.

18          Mortimer is not entitled to reconsideration because the “newly discovered evidence” is

19   not in fact newly discovered.       Indeed, the “newly discovered evidence”—consisting of

20   Mortimer’s own opinions, personal knowledge, and statements— was under Mortimer’s sole
21   control and dominion for the last several decades. Despite Mortimer’s conflicting positions on
22
     whether Rowlette is his biological daughter, he now attempts to avoid a paternity test based on
23
     his latest admission that he thinks he is Rowlette’s father. Mortimer’s new evidence does not
24
     amount to “newly discovered evidence” under the Rules, and his request should be denied.
25



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1              “ ‘[T]he major grounds that justify reconsideration involve an intervening change of
2    controlling law, the availability of new evidence, or the need to correct a clear error or prevent
3
     manifest injustice.’ ” Pyramid Lake Paiute Tribe v. Hodel, 882 F.2d 364, 369 n. 5 (9th Cir. 1989)
4
     (quoting 18 C. Wright, A. Miller & E. Cooper, Federal Practice and Procedure § 4478)
5
     (alteration in original). Mortimer bases his request on Rule 60 of the Federal Rules of Civil
6
     Procedure, which provides that the Court may relieve a party from an order due to “newly
7
     discovered evidence that, with reasonable diligence, could not have been discovered … .”
8
     Fed. R. Civ P. Rule 60(b)(2) (emphasis added). Mortimer has not shown why he was—with
9
     reasonable diligence—unable to offer his admission of paternity prior to the Court’s order, how
10

11   this information is new to him in light of his contact with Rowlette prior to this lawsuit.

12   Mortimer now seeks to take advantage of his own inability to tell or discern the truth.

13             Mortimer failed to offer his admission of paternity in response to the original motion and

14   cannot now call his admission “newly discovered evidence” to avoid the outcome of the Court’s
15
     ruling.    Nor does Mortimer attempt to show that he could not have discovered the “new
16
     evidence” with reasonable diligence. “The overwhelming weight of authority is that the failure
17
     to file documents in an original motion or opposition does not turn the late filed documents into
18
     ‘newly discovered evidence.’” Sch. Dist. No. 1J, Multnomah Cty., Or. v. ACandS, Inc., 5 F.3d
19
     1255, 1263 (9th Cir. 1993) (citing Waltman v. International Paper Co., 875 F.2d 468, 473–74
20
     (5th Cir. 1989) (materials available at time of filing opposition to summary judgment would not
21
     be considered with motion for reconsideration); Trentacosta v. Frontier Pac. Aircraft Indus.,
22

23
     Inc., 813 F.2d 1553, 1557 & n. 4 (9th Cir. 1987) (court did not abuse its discretion in refusing to

24   consider affidavits opposing summary judgment filed late); Frederick S. Wyle Professional

25   Corp. v. Texaco, Inc., 764 F.2d 604, 609 (9th Cir. 1985) (evidence available to party before it


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1    filed its opposition was not “newly discovered evidence” warranting reconsideration of summary
2    judgment). Mortimer’s refusal to clearly admit paternity before this Court’s ruling is fatal to his
3
     position, because this knowledge was his all along.
4
             Mortimer admits that he knew when Rowlette first contacted him (before this action was
5
     filed) that Rowlette must be his biological daughter. Mortimer’s assertion that this is newly
6
     discovered evidence is only his most recent attempt to manipulate the facts. Notably, Mortimer
7
     does not submit a declaration explaining his sudden change in testimony at his deposition, nor
8
     does he submit a statement under oath and without qualification that Rowlette is indeed his
9
     biological daughter. Mortimer chose to defend this action by denying paternity, and although he
10

11   may now regret that choice, the effect of his denial and the insufficiency of his about-face

12   requires that he submit to paternity testing to settle the issue.

13           B. Mortimer Cannot Avail Himself of Rule 60’s Catch-All Provision.

14           Under Rule 60(b)(6), the so-called catch-all provision, the party seeking relief “must
15
     demonstrate both injury and circumstances beyond [his] control that prevented [him] from
16
     proceeding with the action in a proper fashion.” Latshaw v. Trainer Wortham & Co., Inc., 452
17
     F.3d 1097, 1103 (9th Cir. 2006). In addition, the Ninth Circuit has stated that “[t]o receive relief
18
     under Rule 60(b)(6), a party must demonstrate extraordinary circumstances which prevented or
19
     rendered [him] unable to prosecute [his] case.” Lal v. California, 610 F.3d 518, 524 (9th Cir.
20
     2010). Rule 60(b)(6) must be “used sparingly as an equitable remedy to prevent manifest
21
     injustice and is to be utilized only where extraordinary circumstances prevented a party from
22

23
     taking timely action to prevent or correct an erroneous judgment.” Id. The present circumstance

24   is not one that falls into this very limited category.

25



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1           Mortimer has offered no explanation for why he was unable to admit paternity prior to
2    his deposition. His argument that the passage of time made it difficult to remember falls flat
3
     when viewed in light of his admission that he knew Rowlette was his biological daughter when
4
     she contacted him about the Ancestry.com match.            Mortimer’s motion and supporting
5
     documentation is also devoid of any explanation as to how the Court’s ruling causes him any
6
     injury. In fact, Mortimer readily admits that taking a paternity test and settling the matter with
7
     certainty is “the right thing to do.”       Mortimer plainly cannot show the extraordinary
8
     circumstances required to obtain reconsideration under Rule 60(b)(6).
9
                                         IV.     CONCLUSION
10

11          Rowlette and Mortimer’s biological relation is a central issue in this matter that is in

12   controversy and good cause exists to cause Mortimer to submit to paternity testing pursuant to

13   Rule 35. The Plaintiffs respectfully request an order of the Court requiring Mortimer to submit

14   to a buccal swab paternity test.
15
            DATED this 15th day of February, 2019.
16

17                                        s/Jillian A. Harlington
                                          Shea C. Meehan, ISB #6407
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1                                    CERTIFICATE OF SERVICE
2           I HEREBY CERTIFY that on the 15th day of February, 2019, I filed the foregoing
3
     electronically through the CM/ECF system, which caused the following parties or counsel to be
4
     served by electronic means, as more fully reflected on the Notice of Electronic Filing:
5
            J Michael Wheiler:            wheiler@thwlaw.com, dansie@thwlaw.com
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            Richard R. Friess:            friess@thwlaw.com, pond@thwlaw.com
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            Raymond D Powers:             rdp@ powersfarley.com, contact@powersfarley.com
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            Andrew J. LaPorta             rjl@powersfarley.com, contact@powersfarley.com
10

11          And I hereby certify that I have mailed by United States Postal Service a copy of the

12   document to the following non-CM/ECF participant: NONE.

13

14                                        s/Jillian A. Harlington
                                          Shea C. Meehan, ISB #6407
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